Case 7:20-cr-00097-VB Document 31 Filed 10/16/20 Page 1 of 1

  

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

wane enna nnnnnnnnennennne nn nnnnnnnnnnnnnmnnnn nae x Joven an ech
UNITED STATES OF AMERICA Sette gee beh ( «/ Lore
y ORDER
JAVIER ENRIQUE DA SILVA ROJAS, 20 CR 97 (VB)

Defendant.
es oe ory nk 8 8 ae a oy em Se A en x

 

Sentencing in the above matter is scheduled for November 4, 2020, at 2:30 p.m. The
Court expects to conduct this proceeding in person in the Courthouse.

Per the SDNY COVID-19 Courthouse Entry Program, anyone who appears at any SDNY
courthouse must complete a questionnaire and have his or her temperature taken. The
questionnaire is located on the Court’s website at: https://www.nysd.uscourts.gov/
sites/default/files/2020-07/SDNY%20Screening%20Instructions.pdf. Completing the
questionnaire online and ahead of time will save time and effort upon entry. Only those
individuals who meet the entry requirements established by the questionnaire will be permitted
entry. Please contact Chambers if you do not meet the requirements.

Defendant’s sentencing submission remains due October 21, 2020, and the government’s
submission remains due October 28, 2020.

Dated: October 16, 2020
White Plains, NY

SO ORDERED:

Vu

Vincent L. Briccetti
United States District Judge

 
